 Case 1:22-cv-05251-LJL Document 1 Filed 06/22/22 Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                           )
AMERISOURCEBERGEN CORPORATION,                             )
                                                           )
                                  Plaintiff,               )             22Civ.   (     )
                                                           )
                                                           )
                                                           )             COMPLAINT
WARRIOR FREIGHT SYSTEMS LLC,                               )
                                                           )       JURY TRIAL DEMANDED
                                  Defendant.               )
                                                           )
                                                           )

                 Plaintiffs, AmerisourceBergen Corporation ("ABC"), by and through its under-

signed counsel, Kennedy Lillis Schmidt          & English, allege upon information and belief   as fol-


lows:

                                               INTRODUCTION

                 1.        This action arises from damage to pharmaceuticals ("Cargo") owned by

ABC and tendered for shipment to Warrior Freight Systems LLC ("Warrior Freight").

                                                 PARTIES

                 2.        ABC was and is a Delaware corporation with an office for the transaction

of business at   I   West First Avenue, Conshohocken, Pennsylvania 19428.

                 3.        ABC owned the Cargo.

                 4.        Warrior Freight was a Michigan corporation with an office for the transac-

tion of business at 30335 Stephenson Highway, Madison Heights, Michigan 48072.

                 5.        ABC hired Warrior Freight to transport the Cargo pursuant to a 10 March

2020 Canier Service Agreement ("CAS"), Bill of Lading No.00000000000111114 ("Bill of

Lading"), and Warrior Freight PRO No. 0008749.

                 6.        Warrior Freight is registered with the U.S. Department of Transportation

as an interstate carrier   with U.S.D.O.T. number 2988130.
 Case 1:22-cv-05251-LJL Document 1 Filed 06/22/22 Page 2 of 4



                    7.     At all relevant times, Warrior Freight maintained shipping routes through

the state of New York.

                                        JUzuSDICTION & VENUE

                    8.     This action involves interstate transportation of goods by motor carrier.

This Honorable Court has jurisdiction and venue is proper pursuant to 49 U.S.C. $ 14706(d)

("CarmackAmendment") and 28 U.S.C. $ 1331.

                                               BACKGROLIND

                    9.     In March 2020, ABC and Warrior Freight entered the CSA.

                    10.    In the CSA, ABC agreed, inter alia, to hire Warrior Freight to        carry

ABC's affiliates'cargos, and Warrior Freight agreed, inter alia, to do so subject to the Agree-

ment's terms.

                    ll.    In the CSA, ABC and Warrior made ABC's affiliates third-party benefi-

ciaries of the Agreement.

                    12.    In or around June 2020, ABC hired Wanior Freight to transport the Cargo

from ABC's facility in Lockbourne, Ohio to ABC's facility in Orlando, Florida by truck.

                    13.    On or around 24 June 2020, Warrior Freight issued the Bill of Lading for

the transfer of the Cargo from Lockbourne to Orlando.

                    14.    Special Instructions on the Bill of Lading indicated that the Cargo was to

be transported in a refrigerated trailer with the following specifications "Temp Controlled (Cel-

sius)   2o   C - 8oC, set at 5oC, Temp Controlled (Fahrenheit) 35.6"F - 46.4oF, set to 4loF.'o

                    15.    On 24 June 2020, Warrior Freight - in consideration of certain agreed

freight charges duly paid by ABC         -   picked up, received, and accepted the Cargo, then in good

order and condition, at the ABC's Lockbourne facility pursuant to their agreement to carry the

Cargo to ABC's facility in Orlando.




                                                      2
 Case 1:22-cv-05251-LJL Document 1 Filed 06/22/22 Page 3 of 4



                16.       The Cargo was loaded and stowed in refrigerated trailer number RT7022

("Trailer"), with seal number A0021622 ("Seal Number").

                17.       The Carrier Pre-Trip Inspection Form indicates that the temperature set

point was correct per the Bill of Lading at the time of loading'

                18.       Upon the Cargo's delivery to ABC's facility in Orlando, the Cargo was

discovered to have been damaged in transit due to temperature excursion.

                19.       The Cargo's damage caused ABC to suffer losses totaling $490,777,         as


nearly as can now be determined.

              CAUSE OF ACTION - BREACH OF CONTRACT OF CARRIAGE
                     SUBJECT TO THE CARMACK AMENDMENT

                20.       Paragraphs   I through 20 are incorporated by reference as though fully   set


forth at length herein.

                21.       As interstate carriers of merchandise for hire subject to the     Carmack

Amendment, Warrior Freight was obligated by the Carmack Amendment and the CSA to proper-

ly and safely transport, handle, carry, keep, care for, discharge, and deliver the Cargo in the same

good order and condition as when received by them.

                22.       Warrior Freight breached their applicable duties detailed in Paragraph 2l

by allowing the Cargo to be damaged in transit as it was.

                23.       As a direct and proximate cause of Warrior Freight's breach of their appli-

cable duties detailed in Paragraph 21, ABC sustained damages, as nearly can now be determined,

no part of which has been paid although duly demanded, in the sum of $490,777.

                WHEREFORE, ABC demand judgment in their favor and against Warrior Freight

in the sum of $490,777, plus interest, costs, disbursements, and such other and further relief      as


this Court may deem just and proper.




                                                    J
 Case 1:22-cv-05251-LJL Document 1 Filed 06/22/22 Page 4 of 4



                                JURY TRIAL DEMAND

            Plaintiffs hereby demand   a   jury trial on all issues   so triable.



Dated: New York, New York                     KENNEDY LILLIS SCHMIDT & ENGLISH
       June22,2022                            Attorneys for Plaintiff



                                                               ML
                                                      T. Williams
                                                          Lane, Suite 5C
                                               New York, New York 10038
                                               Telephone (212) 430-0812




                                                 4
